
Per Curiam.
Appellees request this Court to certify that its decision is in direct conflict with a decision of another district court of appeal, and/or that the decision passes upon a question of great public importance. Pursuant to Florida Rule of Appellate Procedure 9.030(a)(2)(A)(v), we grant the motion for certification. Because reasonable people may differ on the interpretation of applicable Florida Supreme Court precedent as it applies to the interpretation of sections 95.11(3)(c) and 558.004, Florida Statutes (2014), we certify the following question to the Florida Supreme Court as one of great public importance:
DOES COMPLIANCE WITH THE NOTICE REQUIREMENT UNDER SECTION 558.004(1), FLORIDA STATUTES (2014) CONSTITUTE THE COMMENCEMENT OF A CIVIL ACTION OR PROCEEDING SUFFICIENT TO TOLL THE STATUTE OF REPOSE SET FORTH IN SECTION 95.11(3)(C), FLORIDA STATUTES (2014)?
Fernandez and Scales, Associate Judges, and Suarez, Senior Associate Judge, concur.
